                Case 3:20-cv-05780-RSM Document 9 Filed 10/20/20 Page 1 of 2



 1

 2

 3

 4

 5

 6

 7

 8

 9
                                     UNITED STATES DISTRICT COURT
10                                  WESTERN DISTRICT OF WASHINGTON
                                           TACOMA DIVISION
11

12

13
     AMBER K. ROBERTS,                                     Civil No. 3:20-cv-05780-RSM
14
                       Plaintiff,
15
              vs.                                          ORDER
16
     COMMISSIONER OF SOCIAL SECURITY,
17
                       Defendant.
18
              Based on Defendant’s Motion, it is hereby ORDERED that the Answer due date shall
19
     be amended as follows:
20
              Defendant shall have up to and including November 16, 2020, to file a response to
21
     Plaintiff’s Complaint, including the certified administrative record. The certified administrative
22
     record shall be filed within ten days of its availability to the Office of the General Counsel, if it
23
     can be filed earlier than the aforementioned date. If the Commissioner is unable to file the
24

     Page 1         ORDER - [3:20-cv-05780-RSM]
                Case 3:20-cv-05780-RSM Document 9 Filed 10/20/20 Page 2 of 2



 1
     certified administrative record by that date, the Commissioner shall file another motion for
 2
     extension every 28 days until the certified administrative record becomes available.
 3
              DATED this 20th day of October, 2020.
 4

 5

 6                                                A
                                                  RICARDO S. MARTINEZ
 7                                                CHIEF UNITED STATES DISTRICT JUDGE

 8

 9   Presented by:

10   s/ Lisa Goldoftas
     LISA GOLDOFTAS
11   Special Assistant United States Attorney
     Office of the General Counsel
12   Social Security Administration
     701 Fifth Avenue, Suite 2900 M/S 221A
13   Seattle, WA 98104-7075
     Telephone: (206) 615-3858
14   Fax: (206) 615-2531
     lisa.goldoftas@ssa.gov
15

16

17

18

19

20

21

22

23

24

     Page 2      ORDER - [3:20-cv-05780-RSM]
